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4    Email: LawOffice.mbigelow@gmail.com
5    Attorney for Defendant
     LeJohn Windom, Jr.
6
                       IN THE UNITED STATES DISTRICT COURT
7                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,                 )   Case No. 2:15-cr-0029-TLN
                                               )
10             Plaintiff.                      )   STIPULATION AND ORDER
                                               )   CONTINUING STATUS
11
                      v                        )   CONFERENCE
12
                                               )
     LeJOHN WINDOM, JR.,                       )
13                                             )
               Defendant.                      )
14                                             )

15
          It is hereby stipulated between the parties that status in
16
     this matter, as to this defendant only, be continued to December
17
     15, 2016. The parties are engaged in discussions that may lead to
18
     resolution and the government is in the process of providing
19

20   defendant with additional discovery.

21        For the purpose of computing time under the Speedy Trial Act,

22   18 U.S.C. § 3161, et seq., within which trial must commence, the

23   time period of December 1, 2016 to December 15, 2016 inclusive,

24   is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B (iv)
25   [Local Code T4] because it results from a continuance granted by



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1    the Court at defendant’s request on the basis of the Court's
2    finding that the ends of justice served by taking such action
3
     outweigh the best interest of the public and the defendant in a
4
     speedy trial pursuant to 18 U.S.C. § 3161(h).
5
          4.   Nothing in this stipulation and order shall preclude a
6
     finding that other provisions of the Speedy Trial Act dictate
7
     that additional time periods are excludable from the period
8
     within which a trial must commence.
9

10
          Dated: November 28, 2016             Respectfully submitted,
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12
                                               /s/MICHAEL B. BIGELOW
                                               Michael B. Bigelow
13                                             Attorney for Defendant

14

15

16                             IT IS SO STIPULATED
17
     DATED: November 28, 2016          /s/MICHAEL B. BIGELOW
18
                                       Michael B. Bigelow
                                       Attorney for Defendant Windom Jr.
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20
     DATED: November 28, 2016          /s/Matthew Morris
21                                     MATTHEW MORRIS
                                       Assistant United States Attorney
22

23

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1                                       ORDER
2         IT IS ORDERED: that pursuant to stipulation the above matter
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     shall be continued until December 15, 2016 at 9:30 a.m., and time
4
     excluded for the reasons set forth above.
5

6    DATED: November 28, 2016

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8                                               Troy L. Nunley
                                                United States District Judge
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